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                             IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA,                              Case No. 2:18CR00365-JNP
                            Plaintiff,                  PETITION ASSERTING 3RD PARTY
           vs.                                          INTEREST

 JACOB ORTELL KINGSTON, et al.,                         Judge Jill N. Parrish


                            Defendants.


           Security Investment Corporation (“Security Investment”), through its counsel, asserts its

 interests in the forfeited property (specifically identified below) in the above-captioned case and

 petitions this court for an ancillary proceeding, pursuant to Title 21, United States Code, Section

 853(n).

                                           INTRODUCTION

    1. On March 24, 2023, this Court issued a Preliminary Order of Forfeiture (ECF No. 1397),

 which included the following properties on the attached Exhibit 1:

                 a. Property 3: 4271 S. 1300 E. Salt Lake City, UT 84124, (“Property 3”). More
                    legally described as:


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                 BEG S 172.26 FT FR NW COR LOT 4, BLK 2, 10 AC PLAT A, BIG FIELD
                 SUR; S 114.84 FT; E 220 FT; N 114.84 FT; W 220 FT TO BEG. 0.58 AC M OR
                 L. 7135-2631 8939-3115 9075-8415 10127-7898 10657-0269, Tax ID: 22-05-
                 230-032-0000

          b. Property 7: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #07-090-0002) More legally described in Exhibit A. (“Property 7”)

          c. Property 8: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-041-0004) More legally described in Exhibit A. (“Property 8”)

          d. Property 9: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-041-0019) More legally described in Exhibit A. (“Property 9”)

          e. Property 10: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-041-0020) More legally described in Exhibit A. (“Property 10”)

          f. Property 11: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-041-0025) More legally described in Exhibit A. (“Property 11”)

          g. Property 12: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-041-0026) More legally described in Exhibit A. (“Property 12”)

          h. Property 13: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-041-0027) More legally described in Exhibit A. (“Property 13”)

          i. Property 14: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-041-0028) More legally described in Exhibit A. (“Property 14”)

          j. Property 15: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-042-0018) More legally described in Exhibit A. (“Property 15”)

          k. Property 16: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT Parcel
             #08-045-0005) More legally described in Exhibit A. (“Property 16”)

          l. Property 17: Box Elder County, Utah APN: 08-044-0004. More legally described
             in Exhibit A. (“Property 17”)

          m. Property 18: 24050 N. 600 W. Plymouth UT 84330 (Box Elder County UT
             Parcel#08-052-0008) More legally described in Exhibit A. (“Property 18”)

          n. Property 19: 22555 N. Frontage Rd. Portage, UT 84331. More legally described
             in Exhibit A. (“Property 19”)

          o. Property 20: Box Elder County, Utah APN: 08-052-0014. More legally described
             in Exhibit A. (“Property 20”)



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            p. Property 21: Box Elder County, Utah APN: 08-052-0006. More legally described
               in Exhibit A. (“Property 21”)

            q. Property 22: Box Elder County, Utah APN: 08-052-0005. More legally described
               in Exhibit A. (“Property 22”)

            r. Property 23: Box Elder County, Utah APN: 08-052-0004. More legally described
               in Exhibit A. (“Property 23”)

    2. Security Investment has legal right, title, or interest in Properties 3 and 7-23 and such

 right, title, or interest renders the order of forfeiture invalid in whole or in part because Security

 Investment is a bona fide purchaser for value of the right, title, or interest in Properties 3 and 7-

 23 and was at the time of purchase reasonably without cause to believe that the property was

 subject to forfeiture under this section.

    3.   Petitioner is entitled to recovery of costs, expenses and attorney’s fees consistent with 28

 U.S.C. § 2412, 28 U.S.C.S. § 2465(b), and 42 U.S.C. § 2000bb et seq.

                                    FACTUAL BACKGROUND

    1. Security Investment is a Nevada Corporation registered in the State of Utah. Security

 Investment is a private lender and has been in business since 1992.

    2. Security Investment never provided any loans to WRE and never received any payments

 from WRE. Security Investment did not become aware of any of Defendants crimes until

 Defendants were arrested in August 2018.

                       Property 3: 4271 S. 1300 E. Salt Lake City, UT 84124

    3. In August 2013, Jeremy Andrews purchased a home located 4271 S. 1300 E. Salt Lake

 City, UT 84124 (“Property 3”), through a mortgage from Fidelity Funding Company (“Fidelity

 Funding”). The original purchase price was $385,000. Over the next five years, Mr. Andrews

 made significant improvements to the home including adding a second story.




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    4. In June 2018, Jolene Andrews purchased Property 3 from her son Jeremy Andrews.

 Security Investment financed the purchase price of $1,250,245.69. See Warranty Deed and

 Settlement Statement at Exhibit B and Loan Agreement at Exhibit C.

    5. In June 2018, Security Investment filed a Trust Deed with the Salt Lake County

 recording its interest in Property 3. See Exhibit D.

    6. Ms. Andrews has been making regular payments on this loan and the outstanding loan

 balance as of December 31, 2022 was $1,200,804.11.

    7. In January 2019, the United States filed a lis pendens for this case on Property 3.

    8. Security Investment asserts its interest in Property 3 through its home purchase loan. The

 loan and trust deeds prove Security Investment is an owner of Property 3, under 18 USCS §

 983(6)(a), with standing to intervene in this forfeiture. Security Investment was reasonably

 without cause to believe that Property 3 was subject to forfeiture, at the time it gave Ms.

 Andrews her home purchase loan.

                             Properties 7-23, Box Elder County Parcels

    9. During September-November 2016, Eco Ranches, LLC purchased land (“Properties 7-

 23”) in Box Elder County from WRE in four separate purchases. Each of these purchases were

 financed through mortgages from Security Investment for a total purchase price of $1,299,000.

 See Loan Agreements at Exhibit E, Settlement Statements and check copies at Exhibit F.

    10. In 2016, Security Investment filed Trust Deeds on Properties 7-23 with Box Elder County

 to record its mortgages. See Warranty Deeds and Trust Deeds at Exhibit G.

    11. Eco Ranches defaulted on all four mortgages in 2019 and abandoned the property.

 Security Investment foreclosed on Properties 7-23 in September 2020 and immediately filed

 Trustee’s Deeds upon Sale with the Box Elder County Recorder. See Exhibit H.




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    12. In 2019, the United States filed lis pendens for this case on Properties 7-23.

    13. The United States, in this case, has filed a motion to set aside the foreclosure sale.

 Security Investment filed a motion in opposition in January 2022. Even if the foreclosure sale is

 set aside, Security Investment still qualifies as an owner under 18 USCS § 983(6)(a), with

 standing to intervene in this forfeiture, because it held mortgages on the property and recorded its

 interests with Box Elder County. Security Investment did not know and was reasonably without

 cause to believe that Properties 7-23 were subject to forfeiture at the time it provided mortgages

 on the property in 2016. It had no knowledge of any wrongdoing by Defendants until Defendants

 were arrested in 2018.

                                     PRAYER FOR RELIEF

        The petitioner seeks relief from this court’s preliminary order of forfeiture and hereby

 requests that this Honorable Court hold a hearing ancillary to the criminal conviction of the

 above-named defendants at which Security Investment may testify and present evidence and

 witnesses on its own behalf pursuant to 21 U.S.C. §853(n)(5) and further that this court amend

 its preliminary order of forfeiture dated on March 24, 2023 to recognize fully the interests of

 Security Investment as they are set forth herein.

                                   AFFIRMATIVE DEFENSES

 A. Violation of Equal Protection:

    1. Treatment or making a distinction towards a person based on the group, class, or category

        to which the person is perceived to belong, is unlawful discrimination. Discrimination by

        treatment of an individual or group based on their actual or perceived membership in a

        certain group or social category; restricting members of one group from opportunities or




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        privileges available to other groups; and exclusion of the individual or entities based on

        illogical decision making are all unlawful.

    2. Evidence shows that the Government seeks forfeiture of the Property because of the

        owner’s actual or perceived membership to a certain group or social category, aka “the

        Order.” This is illegal discrimination, which violates the due process clause of the 5th and

        14th Amendment to the U. S. Constitution and also violates the equal protection clause of

        the 14th Amendment to the U. S. Constitution.

 B. Violation of Due Process:

    1. Forfeiting third parties’ property before any determination of wrongdoing by the property

        owner is a violation of the due process clause of the 5th and 14th Amendment to the U. S.

        Constitution. Criminal forfeiture raises several due process concerns for third party

        claimants. See United States v. Emor, 415 U.S. App. D.C. 73, 73, 785 F.3d 671, 672

        (2015). Security Investment has not been charged with any wrongdoing supporting the

        forfeiture of the Property. It was not allowed to participate in the previous proceedings or

        make challenges to the forfeitability of the property, including statute of limitations or

        nexus.

 DATED: ___April 24__, 2023

                                    Respectfully submitted,

                                    /s/ Katherine R. Young___________________________
                                    Katherine R. Young
                                    Attorney for Petitioner Security Investment Corporation

                                    _/s/ Carl E. Kingston (w/ permission)_______________
                                    Carl E. Kingston
                                    Attorney for Petitioner Security Investment Corporation




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of April, 2023, I electronically filed the foregoing

 Petition Asserting 3rd Party Interest with the Clerk of Court using the CM/ECF system which

 sent notification of such filing to all parties and co-defendants.



                                     /s/ Katherine R. Young___________________________
                                     Katherine R. Young




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                      Exhibit A
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                                          EXHIBIT A

 7. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #07-090-0002), more
 legally described as:

    SE/4 OF SEC 3 T13N R3W SLM. LESS: BEG AT NE COR OF SE/4 OF SEC, W 534.6 FT,
    SELY ALG N SIDE OF ST HWY 864.6 FT, N 673.2 FT TO BEG. LESS: RES. LESS: 46.33
    ACRES TO UDOT. LESS: BEG AT A PT 1593 FT N ALG SEC LINE & 33 FT W OF SE COR
    OF SD SEC, W 765.7 FT TO E R/W LINE OF INTER- STATE FREEWAY (NO ACCESS
    LINE), N 1*09`53W 978.0 FT ALG SD LINE M/L TO N BNDRY OF SE/4 OF SD SEC, S 89*
    29`05E 212.8 FT ALG N BNDRY OF SD SE/4 OF SD SEC TO W R/W LINE OF CO RD, S
    37*01`12"E 951.37 FT ALG SD LINE, S 216.3 FT ALG SD LINE TO POB CONT 93.28
    ACRES M/L, Tax No. 07-090-0002.

 8. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-041-0004), more
 legally described as:

    BEG 22 2/3 RDS W of the N/4 COR OF SEC 7, TWP 14N, R 3W, SLM. TH RUNNING W 246
    FT, TH S 17 RDS, TH E 246 FT, TH N 17 RDS to BEG. Less tracts deeded to: Raymond G.
    Yaworsky William D. Marsh. CONT .6 ACRES. Tax No. 08-041-0004

 9. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-041-0019), more
 legally described as:

    BEG AT A PT 538 FT W OF N/4 COR OF SEC 7, TWP 14N, R 3W, SLM. TH W 82 FT, TH S
    280.5 FT, TH E 82 FT, TH N 280.5 FT TO BEG. CONT 0.5 ACRES. Tax No. 08-041-0019

 10. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-041-0020), more
 legally described as:

    BEG AT A PT 374 FT W OF N/4 COR OF SEC 7, TWP 14N, R 3W, SLM. TH W 82 FT, TH S
    280.5 FT, TH E 82 FT, TH N 280.5 FT TO BEG. CONT 0.5 ACRES. Tax No. 08-041-0020

 11. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-041-0025), more
 legally described as:

    All the following within Portage City limits. BEG at a PT 1321.95 FT S of the N/4 COR SEC 07
    T14N R03W SLM US Survey be CO UT, E 3300 FT M/L to CTR/L of Samaria Ditch, N ALG
    the CTR/L of SD Ditch to a PT 330 FT N of Grantor’s PROP/L, W to the W BDY of Grantor’s
    PROP, S 330 FT M/L to POB. CONT 10.23 AC M/L. Tax No. 08-041-0025

 12. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-041- 0026), more
 legally described as:

    All of the following within Portage City limits. N/2 of NE/4 of SEC 07 T14N R03W SLM.
    Portage. Less: N/2 of W/2 of N/2 of NE/4 of SEC 07. Less: BEG at N/4 COR of SEC 07,
    N89*57`38"E 2640 FT, S00*28`34"W 660.0 FT, S89*57`38"W 2640 FT, N00*28`34"E 660.0
    FT to BEG. Less [08-041-0025]: BEG at a PT 1321.95 FT S of the N/4 COR SEC 07 T14N
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    R03W SLM US Survey be CO UT, E 3300 FT M/L to CTR/L of Samaria Ditch, N ALG the
    CTR/L of SD Ditch to a PT 330 FT N of Grantor’s PROP/L, W to the W BDY of Grantor’s
    PROP, S 330 FT M/L to POB. CONT. 9.77 AC M/L. Tax No. 08-041-0026

 13. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-041-0027), more
 legally described as:

    All the following without Portage City limits. BEG at a PT 1321.95 FT S of the N/4 COR SEC
    07 T14N R03W SLM US Survey be CO UT, E 3300 FT M/L to CTR/L OF Samaria Ditch, N
    ALG the CTR/L of SD Ditch to a PT 330 FT N of Grantor’s PROP/L, W to the W BDY of
    Grantor’s PROP, S 330 FT M/L to POB. CONT. 14.77 AC M/L. Tax No. 08-041-0027

 14. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-041-0028), more
 legally described as:

    All the following without Portage City Limits. N/2 of NE/4 of SEC 07 T14N R03W SLM. Less:
    N/2 of W/2 of N/2 of NE/4 of SEC 07. Less: BEG at N/4 COR of SEC 07, N89*57`38"E 2640
    FT, S00*28`34"W 660.0 FT, S89*57`38"W 2640 FT, N00*28`34"E 660.0 FT to BEG. Less [08-
    041-0027]: BEG at a PT 1321.95 FT S of the N/4 COR SEC 07 T14N R03W SLM US Survey be
    CO UT, E 3300 FT M/L to CTR/L of Samaria Ditch, N ALG the CTR/L of SD Ditch to a PT 330
    FT N of Grantor’s S PROP/L, W to the W BDY of Grantor’s , S 330 FT M/L to POB. CONT.
    10.23 AC M/L. Tax No. 08-041-0028

 15. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-042-0018), more
 legally described as:

    N/2 of NW/4 of SEC 08 T14N R03W SLM. Less: All land lying E of W BDY of OSLRR R/W.
    Less [08-041-0027]: BEG at a PT 1321.95 FT S of the N/4 COR SEC 07 T14N R03W SLM US
    Survey be CO UT, E 3300 FT M/L to CTR/L OF Samaria Ditch, N ALG the CTR/L of SD Ditch
    to a PT 330 FT N of Grantor’s S PROP/L, W to the W BDY of Grantor’s PROP, S 330 FT M/L
    to POB. CONT 46.91 AC. Tax No. 08-042-0018.

 16. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-045-0005), more
 legally described as:

    LOS 1, 2, 3, W/2 of NE/4, NW/4 of SE/4. Less to ST ROAD COMM. Being in SEC 15, TWP
    14N, R 3W, SLM. CONTG 231.20 ACS. Tax No. 08-045-0005

 17. Box Elder County, Utah APN: 08-044-0004, more legally described as:

    PARCEL 2: LOTS 4, 5, 6, 7, West half of the Southeast quarter of Section 10, Township 14
    North, Range 3 West, Salt Lake Base and Meridian. TAX ID: 08-044-0004

 18. 24050 N. 600 W. Plymouth, UT 84330 (Box Elder County, UT Parcel #08-052-0008), more
 legally described as:

    BEG N71*W 1350.1 FT FRM SE COR SEC 27 T14N R03W SLM, N40*06`W 435 FT,
    N19*22`W 240.5 FT, N18*03`W 329.8 FT, N89*38`E 456.2 FT, S00*24`E 876.2 FT TO BEG.
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    ALSO: BEG AT PT 1320 FT W & 1312 FT N FRM SE COR SD SEC 27, W 396 FT TO E
    R/W/L OF CO RD, N04*40`E 274 FT, N15*20`E 1100 FT M/L TO N/L NW/4 SE/4 SD SEC
    27, E 83 FT, S 1332 FT M/L TO BEG. CONT 7.20 AC. Tax No. 08-052-0008

 19. 22555 N Frontage Rd, Portage, UT 84331, more legally described as:

    LOT 1, BRUCE ZUNDEL SUBDIVISION, as recorded March 26, 2001, as Entry No. 150913,
    in the office of the BOX ELDER County Recorder. Tax ID: 08-052-0012
    20. Box Elder County, Utah APN: 08-052-0014, more legally described as:

    The Northwest Quarter of the Southeast Quarter of Section 27, Township 14 North, Range 3
    West, Salt Lake Meridian lying West of county road known as Frontage Road. Less: Utah
    Department of Transportation access road right of way. Less: Parcel No. 08-052-0013, created by
    Warranty Deed 216956. Tax ID: 08-052-0014

 21. Box Elder County, Utah APN: 08-052-0006, more legally described as:

    PARCEL 3: Northeast Quarter of Southwest Quarter; Southwest Quarter of Southeast Quarter
    lying West of county road known as Frontage Road; and the East 31.58 acres of the Southeast
    Quarter of Southwest Quarter of Section 27, Township 14 North, Range 3 West. Salt Lake
    Meridian. Less: Lot 1, BRUCE ZUNDEL SUBDIVISION. Less: County road right of way. Tax
    ID: 08-052-0006

 22. Box Elder County, Utah APN: 08-052-0005, more legally described as:

    PARCEL 2: The West 5.25 acres of Southwest Quarter of Southwest Quarter of Section 27,
    Township 14 North, Range 3 West, Salt Lake Meridian. Less: County road right of way. Tax ID:
    08-052-0005

 23. Box Elder County, Utah APN: 08-052-0004, more legally described as:

    PARCEL 1: Southwest Quarter of Southwest Quarter, less the West 5.25 acres thereof; also the
    West 8 42 acres of the Southeast Quarter of Southwest Quarter of Section 27, Township 14
    North, Range 3 West, Salt Lake Meridian. Tax ID: 08-052-0004
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